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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE SOUTHERN DISTRICT OF GEORGIA

 

AUGUSTA DIVISION
IN RE: *
* CASE NO. 17-11665-SDB
ELEANOR HAMILTON, *
* CHAPTER 13
Debtor. *
AFFIDA VIT OFDEFA ULT

 

NOW COMES Jennifer Hamilton Hawkins, hereinafter referred to as "Affiant", and

after first having been duly sworn, deposes, and says on oath, as follows:
(1)

That Afflant is the attorney of record for Estate of Prior Veazey Cason a/k/a Veazey
Cason, and makes this his Affrdavit pursuant to the Order of this Court entered December 4,

201 7 .
(2)

That this Court entered the above-referenced Order pursuant to the Response in
Opposition to Debtor’S Motion to Extend Stay filed by Estate of Prior Veazey Cason a/k/a
Veazey Cason.

(3)

That said Order required Debtor to cure post-petition arrearages and make all future post-

petition mortgage payments in a timely manner.
<4)
That said Order further provided that failure to make any of the payments as required

under said Order Would constitute default and Movant's attorney shall be entitled to file an

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Affldavit of Default setting forth the facts of default and serve the same on the Debtor and

Debtor’s Counsel, at Which time the Movant shall be entitled to an Order granting Movant relief

frorn the automatic stay without further hearing.

(5)
That Affiant makes this Affrdavit for the purpose of obtaining Relief frorn the Automatic

Stay pursuant to the Order entered by this Court on December 4, 2017 , as the Debtor has

defaulted post-petition in the sum of $7,770.00 as of April 18, 2018.
(6)
Further, Afflant would show that Debtor has not made a mortgage payment to Estate of
Prior Veazey Cason a/k/a Veazey Cason since the filing of her prior Chapter 13 Petition (Case
No. 16-10760) in July 2016.
(7)
That by virtue of Debtor’s default pursuant to the terms of the Order, Estate of Prior

Veazey Cason a/k/a Veazey Cason, is entitled to an order granting Movant Relief from the

Automatic Stay.

FURTHER AFFIANT SAYETH NOT.

ThisLZ_¥ii;y of APQ’\ ,2018.

Signed, sealed and delivered
in the presence of:

 

    

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION
IN RE:

CASE NO. 17-11665-SDB
ELEANOR HAMILTON,

*****

Chapter 13
Debtor.

 

M

IT APPEARING TO THE COURT that Jennifer Hamilton Hawkins, as Attorney for
Estate of Pn'or Veazey Cason a/k/a Veazey Cason, Creditor, provided Debtor and Debtor’s
Counsel with notice pursuant to the terms of the Order entered by this Court on December 4,
2017 Which provided in part that,

“... should Debtor default in paying the regular mortgage payments Which come due

according to the Note, and this agreement, during the twelve (12) months following entry

of this Order, the provisions of Rule 4001(a)(3) shall be Waived and upon notice of

default sent by first class mail to Debtor and Debtor’s attomey, at such address that

appear on the attached distribution list, Movant may file a motion and affidavit of default

with the Court, with service upon Debtor and Debtor’s attomey, and the Court may enter

an Order lifting the automatic stay, without further notice and hearing.”

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IT FURTHER APPEARING TO THE COURT that the Debtor has defaulted under
the terms of the Order Granting Amended Motion to Extend Stay with Strict Compliance entered
on December 4, 2017;

IT IS HEREBY ORDERED that Movant is entitled to Relief from the Automatic Stay
permitting Movant to exercise its right of foreclosure and eviction under applicable state law, in
relation to the real property known and designated as 1067 Earl Street, Thomson, GA 30824.

IT IS FURTHER THE ORDER OF THIS COURT that following foreclosure and
upon compliance With state law, Movant may file an unsecured deficiency claim, if applicable,
with a copy served upon the case trustee, debtor and debtor’s counsel. The trustee is ordered to
stop paying any previously allowed claim of Movant asserting a security interest in the property
that is the subject of this order.

[END OF DOCUMENT]

SENTED BY:

 

 

orney f r Movant
LEARY, WEST & HAWKINS, LLC
1223 George C. Wilson Drive
Augusta, Georgia 30909
(706) 860-9995
State Bar No. 940498

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CERTIFICATE OF SERVICE
This is to certify this date I have served a copy of the within and foregoing AFFIDAVIT
OF DEFAULT and proposed ORDER upon the following parties, by depositing the same in the

United States Mail, with sufficient postage affixed thereto, to wit:

Chapter 13 Trustee - Huon Le
P.O. BoX 2127
Augusta, GA 30903

D. Clay Ward
WARD & SPIRES, LLC
P.O. Box 1493
Augusta, GA 30903

Eleanor Hamilton
1067 Earl Street
Thomson, GA 30824

This E dayof A\( m'l ,2018.

CLEARY, WEST & HAWKINS, LLP
1223 George C. Wilson Drive
Augusta, Georgia 30909

(706) 860-9995

State Bar No. 940498

 

